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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA



        V.                                            Case No. 2:18-cr-050

JIMMY BRADWELL FERRELL



                                PLEA AGREEMENT

        Defendant JIMMY BRADWELL FERRELL, represented by his counsel S.

Deleigh Poole, and the United States of America, represented by Assistant United ^
States Attorneys Jennifer J. Kirkland and Marcela C. Mateo, have reached a plea

agreement in this case. The terms and conditions of that agreement are as follows:

1.      COUNTS TO WHICH DEFENDANT PLEADS GUILTY

        Defendant agrees to enter a plea of guilty to Count 1 of the Superseding

Indictment, which charges violations of Title 21, United States Code, Section 846.

2.      ELEMENTS AND FACTUAL BASIS

        The elements necessary to prove Count 1 are (1) That two or more people in

some way agreed to try to accomplish a shared and unlawful plan to possess a mixture

or substance containing a detectable amount of cocaine, a Schedule II controlled

substance; and (2) That the Defendant knew the unlawful purpose of the plan and

willfully joined in it; and (3) That the object of the unlawful plan was to possess with

the intent to distribute and distribute the cocaine. Defendant agrees that he is, in
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fact, guilty of this offense. He agrees to the accuracy of the following facts, which

satisfy each of the offense's required elements:

       Beginning on a date unknown to the Grand Jury,but as early as October 2017,

up to November 2018, the precise dates being unknown, in Glynn County and

surrounding counties, within the Southern District of Georgia, and elsewhere, the

defendant, JIMMY BRADWELL FERRELL, aided and abetted by the co-

defendants and by others known and unknown, did knowingly and intentionally

combine, conspire, confederate and agree together and with each other, and with

others known and unknown, to possess with the intent to distribute and distribute

the cocaine. All in violation of Title 21, United States Code, Sections 841(a)(1) and

846.


3.     POSSIBLE SENTENCE


       Defendant's guilty plea to Count 1 will subject him to the following maximum

possible sentence: Imprisonment of not more than 20 years, a supervised release

term of at least 3 years, a $1,000,000 fine, such restitution as may be ordered by the

Court, and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment.

4.     NO PROMISED SENTENCE

       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

Government, the U.S. Probation Office, or anyone else. The Court may impose a
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 sentence up to the statutory maximum. Defendant will not be allowed to withdraw

 his plea of guilty if he receives a more severe sentence than he expects.

 5.      COURT'S USE OF SENTENCING GUIDELINES

        The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.            The Sentencing

Guidelines are based on ail of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.      AGREEMENTS REGARDING SENTENCING GUIDELINES

        a.    Use ofInformation

        Nothing in this agreement precludes the Government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidelines range.

        b.    Acceptance of Responsibility

        The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or
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greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3El.l(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

       c. Low End Guideline Recommendation

       At sentencing, the Government agrees to recommend that defendant be

sentenced to the low end of the guidelines.

7.     DISMISSAL OF OTHER COUNTS

       At sentencing, the Government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant, if applicable.

8.     FINANCIAL OBLIGATIONS AND AGREEMENTS

       a.    Restitution


       The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not limited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and wiU survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

       b.    Special Assessment

       Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.
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        c.     Required Financial Disclosures

        By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

 directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United

States to obtain credit reports on Defendant and to share the contents of those reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination

        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer ofAssets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Court at

sentencing. Defendant promises that he will make no such transfers in the future.
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        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.     WAIVERS


        a.    Waiver of Appeal

       Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2) the court enters a sentence above the advisory Sentencing Guidelines
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 range found to apply by the court at sentencing; or (3) the Government appeals the

 sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

 attorney not to file an appeal.

       b.     Waiver of Collateral Attack

       Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

       c.     FOIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.
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10.    DEFENDANT'S RIGHTS

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of right^ which he will waive by pleading guilty,
                                            J

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   SATISFACTION WITH COUNSEL


      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented his faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

12.   21 U.S.C.SECTION 851 ENHANCEMENT

      The Government agrees not to file a Title 21, Section 851 enhancement against

the Defendant, if applicable.

13.   BREACH OF PLEA AGREEMENT

      If Defendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the Government is released from all of its

agreements regarding Defendant's sentence,including any agreements regarding the


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calculation of Defendant's advisory Sentencing Guidelines.        In addition, the

Government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise he beirred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.
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14.    ENTIRE AGREEMENT


       This agreement contains the entire agreement between the Government and

Defendant. The Government has made no promises or representations except those

set forth in writing in this Plea Agreement. The Government further denies the

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed,by all

the parties.

                                       BOBBY                     E
                                       UNI                       TORNEY




Date                                                 certy
                                       Chief, Criminal Division




Date                                   Jennifer J. Kirlfcla
                                       Assistantilniied States Attorney




Date                                   Mar ela C. Matt
                                       Assi 3tant United     States Attorney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



a.-Af-'T                                              Ib.'kvU.CC
Date                                    Jimmy Bra'Jwell Ferrell
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.



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 /ate /                          f     . 'Deleigh Poole
                                         lefendant's Attorney




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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA                     Case No. 2:18-cr-050


V.



JIMMY BRADWELL FERRELL

                                     ORDER


       The aforesaid Plea Agreement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

       This     day of May 2019.




                                                  iLE LISA GODBEY WOOD
                                              :D STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA
